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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0171-MCE
12                               Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           ORDER
14   FIDEL SANCHEZ-CRUZ,                                DATE: June 13, 2019
     AGUSTIN CRUZ-SANCHEZ, AND                          TIME: 10:00 a.m.
15   ABRAHAM DE LOS SANTOS-SANCHEZ,                     COURT: Hon. Morrison C. England, Jr.
16                               Defendants.
17
18                                             STIPULATION

19         1.      By previous order, this matter was set for status on June 13, 2019.

20         2.      By this stipulation, defendants now move to continue the status conference until August

21 22, 2019, and to exclude time between June 13, 2019, and August 22, 2019, under Local Code T4.
22         3.      The parties agree and stipulate, and request that the Court find the following:

23                 a)     The government has represented that the discovery associated with this case

24         includes more than 10,500 pages of investigative reports, photographs, and other documents, as

25         well as video and audio recordings. All of this discovery has been either produced directly to

26         counsel and/or made available for inspection and copying. In addition, on or about March 5,

27         2019, the government produced to defendant Cruz-Sanchez the contents of his seized cell phone,

28         consisting of hundreds of photographs, videos, and other files.

      STIPULATION REGARDING EXCLUDABLE TIME             1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1                b)      On June 4, 2019, the Court signed an order substituting attorney Hayes H. Gable,

 2         III, as appointed counsel for defendant Cruz-Sanchez. Mr. Gable has not been able to obtain the

 3         discovery from prior counsel; accordingly, the government is preparing another copy of the

 4         discovery for production to Mr. Gable in the coming days.

 5                c)      Counsel for defendants desire additional time to review the discovery and discuss

 6         it with their clients, to conduct investigation, and to otherwise prepare for trial.

 7                d)      Counsel for defendants believe that failure to grant the above-requested

 8         continuance would deny them the reasonable time necessary for effective preparation, taking into

 9         account the exercise of due diligence.

10                e)      The government does not object to the continuance.

11                f)      Based on the above-stated findings, the ends of justice served by continuing the

12         case as requested outweigh the interest of the public and the defendant in a trial within the

13         original date prescribed by the Speedy Trial Act.

14                g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15         et seq., within which trial must commence, the time period of June 13, 2019 to August 22, 2019,

16         inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

17         because it results from a continuance granted by the Court at defendants’ request on the basis of

18         the Court’s finding that the ends of justice served by taking such action outweigh the best interest

19         of the public and the defendant in a speedy trial.

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      STIPULATION REGARDING EXCLUDABLE TIME               2
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

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 6
     Dated: June 10, 2019                                     MCGREGOR W. SCOTT
 7                                                            United States Attorney
 8
                                                              /s/ DAVID W. SPENCER
 9                                                            DAVID W. SPENCER
                                                              Assistant United States Attorney
10
11
     Dated: June 10, 2019                                     /s/ DINA SANTOS
12                                                            DINA SANTOS
                                                              Counsel for Defendant
13                                                            FIDEL SANCHEZ-CRUZ
14   Dated: June 10, 2019                                     /s/ HAYES H. GABLE, III
                                                              HAYES H. GABLE, III
15                                                            Counsel for Defendant
                                                              AGUSTIN CRUZ-SANCHEZ
16
     Dated: June 10, 2019                                     /s/ ETAN ZAITSU
17                                                            ETAN ZAITSU
                                                              Counsel for Defendant
18                                                            ABRAHAM DE LOS SANTOS-
                                                              SANCHEZ
19
20
21                                                    ORDER
22          IT IS SO ORDERED.
23 Dated: June 11, 2019
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      STIPULATION REGARDING EXCLUDABLE TIME               3
30    PERIODS UNDER SPEEDY TRIAL ACT
